                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

GEORGE EDWARD TYLER
JACKSON,

             Petitioner,
v.                                            Case No.: 1:24cv129-MW/MJF

STATE OF FLORIDA,

          Respondent.
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        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 5, and has also reviewed de novo Petitioner’s objections,

ECF No. 6. Accordingly,

      IT IS ORDERED:

      The report and recommendation, ECF No. 5, is accepted and adopted, over

the Petitioner’s objections, as this Court’s opinion. The Clerk shall enter judgment

stating, “Petitioner’s petition for writ of habeas corpus under 28 U.S.C. § 2241, ECF

No. 1, is DISMISSED without prejudice for failure to exhaust administrative

remedies and because Younger v. Harris requires this Court to abstain from

interfering with Petitioner’s state criminal prosecution.” The Clerk shall close the
file.

        SO ORDERED on September 17, 2024.

                                 s/Mark E. Walker
                                 Chief United States District Judge




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